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            Exhibit 
Page                       of                   Pages
 Of l'E.N-S.E CLASSIFICATION
                                         s                                 1:23-cv-01184-CRL-JEH # 318-26
                                                                                   INC CODE'
                                                                                                                      Filed: 04/22/24   Page 2 of 6
                                                                                                                                                                 AEL. CASE No:s


                                                                                   0112
                                                        NAME AHO /Qfl; ALIAS                                                                                                             S S .. D.L. NO .. ETC.




                                                                   .. _.Connie. L.                                                                               REDACTED
                                                        ROBINSON               James;

                                                                                                                                                                                             Uni<.---,.:



                                                                                                                                                               00--:;0H Duty Police
                                                                                                                                                 1Drf'Hl~IABLE PHYSICAL CHAflACTE.~AIST!CS   ..




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                                                                                                                                                        OTHER DESC. DAlA                                          OLIS .




 lAB                                      c,o                                                                        CORON.fR
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                   1 ••                                                                                          I                                                I

       CONTI NU,o?,. Tl_OI\J
        SHEET .ONLY,



to give Of.ficer: Fiers an escort. to·the:scene. of a double homidde .at 3033 W. Gar_den .. St- •. Thfs offi,cer-arr-i-ved-with
Officer Fiers at-the scene and at th t
if anyone living o~ Marquette had heard or seen anything out of the ordinary that happened on Garden St.                   .-.

     This9ff,icer stopped at:the fi,rst.address being.3028 and fourid·no one.home.· The--next:house·-1 checked.·was.at 3014,-
the home,of the Fire C · f fo                                              "fe wbo·was home all1-'-\.'kl-l!'-<;:;,J<,f,,,-ew..i,...c.--1-1,1-~~---f::H-''l---'--------i
an hour and·l5 minut·es, ·from· about noon until l:15/ -She.reported·not ,nearing or: seeing anything.· ~This- officer questioned -
her in re ard· to                     ·          ·                        ·      · ··                 g                                   ·           ·
officer checked was at 3002 W. Marquette, the- ome of a Mr.- and Mrs. Crosiar. - Mrs.-Crosiar was.home
that 'she.cfid ~ot h~ar-nor,see an th.in •. She-did re.Ort-th t her insurance a·ent from-·P              t"          "f
s~oppE:d. c!n9.,col-l.ected-.in,.the ~ft~rnoori. §lb~ut J2:30_ or-,1_:00.   ..... _                                                         .. -...

         This_ officer .then ca~ 10-19 .t(? the.pol ice department. and checked with.Sgt •. Ti arks of the··Violent Crime Unit •. This
officer received(an assi nment from St. Tiarks to in erview the abo e Wi i
vic1imstn _t_hi~_<;ase. • In my-.interyiew.of,_ this subject, I :talked at, l.ength with·.him in regards to wh~t- happened and what he
could tell me'.-about this doubl'e homicide. - Dou las informed·thi ,off"c
victims and had been divorced from her in August of 1976. He reported that he and she were starting to get back together
                   roximate 1 si nee RUOR1'NG OFflCEl=l
                                               b              ·REP liNG of       )91.6..___ne_~puLL~.-Lild.L.:::.{.le_r:Jia.JJ➔·P:e~,.:,..:c,A(;;~~µ:i,i;~~-Ali~-+l/;;,mi.~.-:c::-.,,.,,.----j
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                                                                                                                                             PEORIA_SAVORY 62
Page                 of              Pages NARRATIVE:
                                                                                                                                                              FIELD COMMUNICATIONS                 HRS.
                2         . .·5                       1:23-cv-01184-CRL-JEH # 318-26                     Filed: 04/22/24              Page 3 of 6                  0 Flash Message
                                                                                                                                                           __ 0        LEADS/NCIC Inquiry
                                                                                                                         :..-..   I                                0   LEADS/NCIC Entry            ·.•;·.
I                                                      I                                                                                                           O License Inquiry
lat 3033 W. Garden St.· that he hacl onl left for a little·.while durin the evenin when:he had· .· _ _ O1nter'.Dept.Reques1s
  gone to the home of hi S friend I S x-wife being a Toni Mil 1s, when he atterrpted to start the car O       O Other Communication
1his friend at that address. He r orted that he had left .the.house a roximatel 10: Oto o o                   OcanceltationMade
1 that address of his friend's ex-w~fe being 2200 N. Jefferson,but he could not get this car started.      He then gave the
I friend's ex-wife a ridei.down ori,.S~xth St. where she icked-.u ,a van. He re orted.that.ne· ct.back home at a roximatel
1 12:00 after first stopping by 131 W. Martin to inform his friend, James Mills, that he was staying at his ex-wife's
1house in case his      lo er would tr to et ahold of him. He re orted that he had told Mr. Mills that he would i k hi
I up and take him to work the next morning since he knew that the car would not start.      He stated that he watched television
1at the home of his ex-wife and th the sle ton the couch that he alon with his ex-wife left the home betwe n 6· O
1  :35 a.m. on this date, 1-18-77, ~nd went to the home of his friend~ James Mills, at 1317 W. Martin and waited a couple
1of -minutes before Mr. Mills came down. The three of them then sto ed and had coffee at Ike & Swani son Fan                    t
I                                                      I
1         The then took Mr. Mills to I ork at Keifer Electric and dro ed him off thi b ·                 or to 17:15 a.m.
1and then took his wife to Foster Jacobs Electric and dropped her off prior to 7:30, her reporting time. He reports that
IJ\e....then_wen.t_back...t.Q_lJJLMart.in_for the ur ose of chan in clothes. He sto
 obtained $5 worth of gasoline and a package of cigarettes prior to his arrival at 1317 Martin. He changed clothes at this
  address. He then called Mr. Mills at Keifer Electric to determine if he could            t off sot
 ex-wife's at 2200 N. Jefferson to start the car. It was confirmed that Mr. Mills could leave so be then returned to
 Keifer Electric left the car runnin outside and went in. Mr. Mills
 prior to going. He reported that he arrived back at Keifer Electric at approximately 8:05 a.m. They drank the coffee.
 The then drove -u Washi,n ton ast:·the T- f,t~-Housin .u . A ams St. ·to. t · · • i    1   ·                    ,                    ·
 around and came- back,-,down:. Jeffer:son and ·stopped at the-first house .on the 1eft -hand~:si de :of<the- str:eet .where the :·ex-wife
 ,J:ii1ved. ·The .. car.-·.was.settin in.front-of.this.house •. The ··t


           ~e ·r~ported that,: i-t::was approximate I y 8:20.-a.m. at this, time ·and that he drove down Jefferson to Second St. and
    started· oin down-Second.towards .the ·Park Funeral' Home··w ·
    of Fisher and 5_econd r!n<i_.sal,,{ anot~er fr,iend nam~d:BiHy Southerla_nd.-.He picked him up and took him to:the,·Jefferson                                                         ,.. ,
    Buildin at.Fultonand'.Jefforson •.•Hethenwentbac do·-                               f       .toSecondAv                ·         ·                       ·                ·
    arrived -at -between 8:40 and ·a:45 a.in.• ,Mr. Parks -was at the funeral -home. ·He reported 'tliat: there was. some· ta'lk: between :
    them . that,the • hone.;ran :at:a· roximatel 8:                                               -         · ·          · ··                            ··            · ..
    that Mr. Parks was gone for a half to three quarters of an hour and ar-r'ived back· at·· the:fuheral home·somewhe~e·around 9:35.
    Durin the eriod of time when Mr. Parks wa                      on                                                           f..ui.c=..cu---i.iuu.t:--d+1-1.1-........1-1.1-~..J.;.c=;:.1.1-----1
    both..::the men I s and :women) s·,. rest:' rooms •. · He- did. •not., 1eave-·-duri ng •this period ~of.:.'t ime.: • Mr.· Parks: and he;•, then· ·1 eft: the:·.'
    funeral home at a roximatel 1 l: 0 where tl:le w· ··                     o·           .•  ·     ·, · ·        · .. ·      .                    · · . 1 ·. .. -
    Mr.;.Parks home where·they:.had a.couple of beers and.ate-some polish sausage sandwiches.·· He-reported that.after.that, they>
    went back to the funeral.home·and he·                                       ·        · ·      · .. · • · ··         ·· · ·         '             ·        ·•.         ·      1 •· •·   .:- .• ,.

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         He.                                                             own to. the,boroe at 3033.tj·.:Garden aod ..·11pon ar:di.1a·1
    get in the house. He                                   he and his wife-knocked on the door and could not arouse anyone.                                    He reported that his
    wife went to the rear                                                                              ·o eotraoc
                                                                                                                                                                                       I 1.D.NO.
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                                                                                                                                           PEORIA_SAVORY 63
 Page                    of                     Pages
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   OHEN'SE CLASS1~,CAllON                                                                      or- nus
                                                                                            INC_ CODE           OAT[        ~[PORl                              INC10ENT CODE CHANGE                 A(L. CASE NO.'S

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                                                                                            0112                       1-18-
                                                             NAME ANO JOA ALIAS                                                                                                                                                   SS.O.LNO-.ETC.


                                                                            Connie L·.                                               W. Garden
                                                                                                                                                             •. C



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 SEC. A;    A-Arrested        B-Bu&i-nc~S.,-Firm, Agency'.-        C-CO!J1D~adnanl                                                                                             W-Witn-ess    0-0ther- (Nar, .)

 SEC. B:   K-Dec1d Before Report             0-No Indication of lnJury            A-Bleeding, Carried from Sr;eoe

 SEC. C~    S- Sober        O-Been Odnking               1-lnto,dcated/Vnder Influence              0-0ther (Describe in Narr.)

 SEC. 0:   M:...~ala. F-; Female        X-Unknown I W-White                                                                                                                                         OD-OU Outv Police
                                        HAIR Wt.SC.! .




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  lAB                                  CID                                                                                                   DJRONt_R
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                                    I                                                                                                    I

     CONTINUATION                                        NARRATIVE:
      SHEET ON LY                        □
 reported that she tried the garage door and the garage door opened.                                                                                Entrance was then gained to the house off of the




 said he could not get through and a subject there made the call for him requesting the police and an ambulance be sent to

 the bedroom where the deceaseds were found.                                                                  He said that he could not remember whether he had placed the phone back on

 that they just waited unti1 the police arrived at the scene.

           This officer went over this information with Mr. Douglas several times and then checked with Sgt. Tiarks.                                                                                                                       Sgt. Tiarks

 bedrooms and that I should talk to the subject in regards to this.                                                                               This officer then talked to Mr. Douglas and he reported

 atteryipting to start the car of his friend.                                                               This officer asked Mr. Douglas if there were any pets in the home and he
f-L-'9:':~~½::'J.lJ'½:,~1:"=cw:.._,,""'-''L...Ja_J,J,t::L,U~-1='~'-lJ'c<!L.U,....c:1..1.1.LL--p.~~-----~cl.!>K:f:~=1,1.im         how
                                                                                                       f~EPORnNG QFf.jCER lPHINT, TYPEI                                                                                                                        NCJ



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                                                                                                                                                                                                                       UTILITY SHEET


                                                                                                                                                                               PEORIA_SAVORY 64
Page
              .-.:5 .. NARRATIVE:
                                                   of                                                      Pages            I -                                                                                                                                                                                                                                                                                                                                                        FIELD COMMUNICATIONS                                                           I
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      4                     1:23-cv-01184-CRL-JEH # 318-26                                                   - 0 Flash.Message                                                                                                                                                                                          Filed: 04/22/24                                                         Page 5 of 6                                                                                                                                                      •·

                             I                                                                             -                          !
:-ATTACH PROPERTY TAG HERE   I
                                                                                                           _ _ 0 LEADS/NCIC Inquiry                                                                                                                                                                                                                                                                                                                                                                                                                                   I
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I                                                                                                          _ _ 0 LEADS/NCIC Entry ,-                            I
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I                                    I
                                                                                                           - - 0 License Inquiry      I
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                                          dog    very protecti v.e of family members but µpon· _hi,s.   --
t
I
     two vears old. He reoorted that! the     is                                                      .    - - D Inter-Dept. Requests
     arrival at the house with his ~1-wife, the dog was at 1arge in the house. Mr. Douglas does not - - 0 Other Communication I
                                                                                                                                      I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      I
I
I     recall a cut off cue stick bein in the house.                                                            0 Cancellation Made    I
I        This officer then requested of Mr. Douglas if he would be wi 11 i ng to give me a typewritten statement as to wnat had
I   happened durinq the eveninq hours and day time hours of 1-17-77 and 1-18-77 and after obtaining the statement, if he
I

I   would be willing to take _a polygraph examination. Mr. Douglas reported that he would gladly give a statement ana that
I   he would take a oolvqraoh examination on the written statement.
I                                                                                                                         I
I
           This officer. in                  215, then took a seven page typewritten statement from Mr. Douglas typed by Joyce
                                                                                                                          1
                                                                                                                 interview room
 I Tucker.      Standard technique was rused in this statement. It was on a long form. The subject was f1rst adv1sed of h1s
 I   Constitutional Riahts oer the f(!)rm and understood these riqhts prior to giving the statement. The statement was then
·I   taken. The subject, after taking the statement, read and signed all pages and initialed all typographica) errors on
 l   the statement. The subiect didireport that he would be willinq to take a eolygraph examination on this statement and
I


 I   a copy ofi the statement was made available to Mr. Dennis Jenkins so that a polygraph could be administered this evening.
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                                                                                      1:23-cv-01184-CRL-JEH # 318-26 Filed: 04/22/24 Page 6 of 6                                                                                                                                          ,.    .      . 77-01588

                ~ ,FISCHER.
                        fSEC. B ,-SEC C                  ruc.e          ,   '1. NAME "NDiOfl l\l lAS       •                                                   ,           A.OOR[SS. NO., CITY, ST /1, IE, .llP                                     ,   PHONE_CSI                  ,   DOt,.JAGE               S S .• 0.l. NO., E:TC                      fliH.



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